Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 1 of 155            FILED
                                                                   2014 Aug-26 AM 09:08
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




                   EXHIBIT A
                       Part One
                                 Case 2:14-cv-01647-RDP
                                                 ALABAMADocument 1-1 Filed
                                                          SJIS CASE  DETAIL08/25/14 Page 2 of 155


                             County: 68      Case Number: CV-2013-900453.00  Court Action:
                             Style: BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                                                                                                                                   Real Time



Case
        Case Information
     County:          68-JEFFERSON -         Case Number:    CV-2013-900453.00                                   Judge:          AHV:ANNETTA H. VERIN
                      BESSEMER
     Style:           BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
     Filed:           06/24/2013                 Case Status:            ACTIVE                                  Case Type: BAD FAITH/FRAUD/MISR
     Trial Type:      JURY                        Track:                                                         Appellate Case:      0
     No of Plaintiffs: 1                          No of Defendants:      5




        Damages
     Damage Amt:      0                           Punitive Damages:               0                              General Damages:         0
     No Damages:                                  Compensatory Damages:           0
     Pay To:                                      Payment Frequency:                                             Cost Paid By:


        Court Action
    Court Action Code:                                 Court Action Desc:                                       Court Action Date:
    Num of Trial days:              0                  Num of Liens:         0                                  Judgment For:
    Dispositon Date of Appeal:                         Disposition Judge: :                                     Disposition Type:
    Revised Judgement Date:                            Minstral:                                                Appeal Date:
    Date Trial Began but No Verdict (TBNV1):
    Date Trial Began but No Verdict (TBNV2):



        Comments
    Comment 1:
    Comment 2:



      Appeal Information
 Appeal Date:                                   Appeal Case Number:                                              Appeal Court:
 Appeal Status:                                 Orgin Of Appeal:
 Appeal To:                                     Appeal To Desc:                                                  LowerCourt Appeal Date:
 Disposition Date Of Appeal:                                              Disposition Type Of Appeal:


      Administrative Information
    Transfer to Admin Doc Date:                    Transfer Reason:                                     Transfer Desc:
    Number of Subponeas:                          Last Update:            07/29/2014                    Updated By:      SIC



Settings
  Settings
       Date:                 Que:              Time:               Description:
1      06/04/2014             001              09:00 AM            STAT - STATUS CONFERENCE
4      01/21/2014             001              10:00 AM            HEAR - MOTION/EXTENSION



Parties
Party 1 - Plaintiff INDIVIDUAL - FREDERICK BRANDI
     Party Information
                             Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 3 of 155
  Party:           C001-Plaintiff          Name:        FREDERICK BRANDI                                             Type:      I-INDIVIDUAL
  Index:           D SERVICE EXPE          Alt Name:                                        Hardship:     No         JID:       AHV
  Address 1:       5409 TRACE RIDGE LANE                                                    Phone:        (205) 000-0000
  Address 2:
  City:            BIRMINGHAM              State:       AL                                  Zip:          35244-0000 Country:   US
  SSN:             XXX-XX-X999             DOB:                                             Sex:          F             Race:


     Court Action
  Court Action:                                                                                      Court Action Date:
  Amount of Judgement: $0.00                            Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                      Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                           Arrest Date:
  Warrant Action Date:                                  Warrant Action Status:                       Status Description:


    Service Information
  Issued:                  Issued Type:                         Reissue:                                Reissue Type:
  Return:                  Return Type:                         Return:                                 Return Type:
  Served:                  Service Type                         Service On:                             Served By:
  Answer:                  Answer Type:                         Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                    Email                                    Phone
  Attorney 1      KIN045                            KINDERMAN SPENCER ALAN              SKINDERMAN@GILPINGIVHAN.COM              (205) 547-5553
  Attorney 2      CAR170                            CARLISLE JOSEPH WENDELL             JCARLISLE@GILPINGIVHAN.COM               (205) 547-5558
  Attorney 3      PEN007                            PENTON SIMEON FRANKLIN II           SPENTON@GILPINGIVHAN.COM                 (334) 244-1111




Party 2 - Defendant BUSINESS - SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC
     Party Information
  Party:           D001-Defendant          Name:        SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC              Type:      B-BUSINESS
  Index:           C FREDERICK BR          Alt Name:                                        Hardship:     No         JID:       AHV
  Address 1:       C/O CSC LAWYERS                                                          Phone:        (205) 000-0000
  Address 2:       150 SOUTH PERRY STREET
  City:            MONTGOMERY              State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:             XXX-XX-X999             DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                      Court Action Date:
  Amount of Judgement: $0.00                            Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                      Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                           Arrest Date:
  Warrant Action Date:                                  Warrant Action Status:                       Status Description:




                                           © Alacourt.com      8/25/2014                2
    Service Information
                            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 4 of 155
  Issued:      06/24/2013 Issued Type:   C-CERTIFIED MAIL          Reissue:                                Reissue Type:
  Return:            Return Type:                                  Return:                                 Return Type:
  Served: 06/28/2013 Service Type C-CERTIFIED MAIL                 Service On:                             Served By:
  Answer: 04/03/2014 Answer Type: D-COMPLAINT DENIED               Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                       Email                                    Phone
  Attorney 1      SAN054                               SANSBURY MICHAEL TODD               MSANSBURY@SPOTSWOODLLC.COM               (205) 986-3620
  Attorney 2      LON049                               KIPP GRACE LONG                     GKIPP@SPOTSWOODLLC.COM                   (205) 986-3630




Party 3 - Defendant INDIVIDUAL - FREEMAN SCOTT
     Party Information
  Party:            D002-Defendant            Name:        FREEMAN SCOTT                                                Type:      I-INDIVIDUAL
  Index:            C FREDERICK BR            Alt Name:                                        Hardship:     No         JID:       AHV
  Address 1:        20 EAGLEWOOD FARMS ROAD                                                    Phone:        (205) 000-0000
  Address 2:
  City:             MAYLENE                   State:       AL                                  Zip:          35114-0000 Country:   US
  SSN:              XXX-XX-X999               DOB:                                             Sex:          M             Race:


     Court Action
  Court Action:                                                                                         Court Action Date:
  Amount of Judgement: $0.00                               Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                              Arrest Date:
  Warrant Action Date:                                     Warrant Action Status:                       Status Description:


    Service Information
  Issued:      06/24/2013 Issued Type:   A-PROCESS SERVER          Reissue:            10/24/2013          Reissue Type: A-PROCESS SERVER
  Return:            Return Type:                                  Return:                                 Return Type:
  Served:            Service Type                                  Service On:                             Served By:
  Answer: 04/03/2014 Answer Type: D-COMPLAINT DENIED               Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                       Email                                    Phone
  Attorney 1      LON049                               KIPP GRACE LONG                     GKIPP@SPOTSWOODLLC.COM                   (205) 986-3630




Party 4 - Defendant INDIVIDUAL - COLLINS BECKY
     Party Information
  Party:            D003-Defendant            Name:        COLLINS BECKY                                                Type:      I-INDIVIDUAL
  Index:            C FREDERICK BR            Alt Name:                                        Hardship:     No         JID:       AHV
  Address 1:        92 OXMOOR ROAD                                                             Phone:        (205) 000-0000
  Address 2:
                                             © Alacourt.com       8/25/2014                3
  Address 2:
  City:
                             Case 2:14-cv-01647-RDP
                    BIRMINGHAM            State: AL
                                                    Document 1-1 Filed 08/25/14
                                                                       Zip:
                                                                                 Page 5 of 155
                                                                                35209-0000 Country:                                 US
  SSN:              XXX-XX-X999                DOB:                                             Sex:          F             Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      06/24/2013 Issued Type:    A-PROCESS SERVER          Reissue:                                Reissue Type:
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 5 - Defendant BUSINESS - EQUIGUARD, INC.
     Party Information
  Party:            D004-Defendant             Name:        EQUIGUARD, INC.                                              Type:      B-BUSINESS
  Index:            C FREDERICK BR             Alt Name:                                        Hardship:     No         JID:       AHV
  Address 1:        C/O CT CORPORATION SYSTEM                                                   Phone:        (205) 000-0000
  Address 2:        2 N JACKSON ST., STE. 605
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      03/20/2014 Issued Type:    C-CERTIFIED MAIL          Reissue:                                Reissue Type:
  Return: 04/03/2014 Return Type: O-OTHER                           Return:                                 Return Type:
  Served:            Service Type                                   Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:




                                              © Alacourt.com       8/25/2014                4
    Attorneys
                            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 6 of 155
  Number          Attorney Code Type of Counsel Name                                                 Email                                              Phone




Party 6 - Defendant BUSINESS - GENERAL ELECTRIC CAPITAL CORPORATION
     Party Information
  Party:            D005-Defendant              Name:        GENERAL ELECTRIC CAPITAL CORPORATION                                     Type:         B-BUSINESS
  Index:            C FREDERICK BR              Alt Name:                                                Hardship:       No           JID:          AHV
  Address 1:        C/O CT CORPORATION SYSTEM                                                            Phone:          (205) 000-0000
  Address 2:        2 N JACKSON ST., STE 605
  City:             MONTGOMERY                  State:       AL                                          Zip:            36104-0000 Country:        US
  SSN:              XXX-XX-X999                 DOB:                                                     Sex:                           Race:


     Court Action
  Court Action:                                                                                                     Court Action Date:
  Amount of Judgement: $0.00                                 Court Action For:                                      Exemptions:
  Cost Against Party:       $0.00                            Other Cost:           $0.00                            Date Satisfied:
  Comment:                                                                                                          Arrest Date:
  Warrant Action Date:                                       Warrant Action Status:                                 Status Description:


    Service Information
  Issued:      03/20/2014 Issued Type:     C-CERTIFIED MAIL             Reissue:                                     Reissue Type:
  Return:            Return Type:                                       Return:                                      Return Type:
  Served: 03/31/2014 Service Type C-CERTIFIED MAIL                      Service On:                                  Served By:
  Answer:            Answer Type:                                       Notice of No Service:                        Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                                 Email                                              Phone
  Attorney 1      FOR037                                 FORD SARA ANNE CARTER                       SFORD@LIGHTFOOTLAW.COM                             (205) 581-0752
  Attorney 2      DOS008                                 DOSS JEFFREY PAUL                           JDOSS@LIGHTFOOTLAW.COM                             (205) 581-0700
  Attorney 3      HOL075                                 HOLLIS LEE MAXWELL                          LHOLLIS@LIGHTFOOTLAW.COM                           (205) 581-0766




Financial
   Fee Sheet
  Fee Status        Admin Fee       Fee Code      Payor           Payee         Amount Due          Amount Paid          Balance      Amount Hold Garnish Party

  ACTIVE            N               AOCC          C001            000                      $24.07               $24.07        $0.00             $0.00 0
  ACTIVE            N               CONV          C001            000                      $19.85               $19.85        $0.00             $0.00 0
  ACTIVE            N               CV05          C001            000                  $309.00               $309.00          $0.00             $0.00 0
  ACTIVE            N               JDMD          C001            000                  $100.00               $100.00          $0.00             $0.00 0
  ACTIVE            N               SERA          C001            000                      $10.00               $10.00        $0.00             $0.00 0
  ACTIVE            N               SUBP          C001            000                      $12.00               $12.00        $0.00             $0.00 0
  ACTIVE            N               VADM          C001            000                      $45.00               $45.00        $0.00             $0.00 0

                                                                  Total:               $519.92               $519.92          $0.00             $0.00


                                               © Alacourt.com           8/25/2014                    5
    Financial History        Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 7 of 155
 Transaction Description Disbursement Transaction      Receipt Number Amount      From Party To Party   Money   Admin Reason   Attorney Operator
 Date                    Accoun       Batch                                                             Type    Fee

 06/25/2013     CREDIT      CONV         2013188       1442300       $18.85       C001         000              N                      DID
 06/25/2013     RECEIPT     AOCC         2013188       1442290       $7.17        C001         000              N                      DID
 06/25/2013     RECEIPT     CV05         2013188       1442310       $309.00      C001         000              N                      DID
 06/25/2013     RECEIPT     JDMD         2013188       1442320       $100.00      C001         000              N                      DID
 06/25/2013     RECEIPT     SERA         2013188       1442330       $10.00       C001         000              N                      DID
 06/25/2013     RECEIPT     VADM         2013188       1442340       $45.00       C001         000              N                      DID
 10/08/2013     RECEIPT     SUBP         2014007       1489070       $12.00       C001         000              N                      JEB
 03/24/2014     CREDIT      CONV         2014119       1559490       $1.00        C001         000              N                      SIC
 03/24/2014     RECEIPT     AOCC         2014119       1559480       $16.90       C001         000              N                      SIC



Case Action Summary
Date:         Time        Code     Comments                                                                                          Operator
6/24/2013     5:01 PM     ECOMP    COMPLAINT E-FILED.                                                                                KIN045
6/24/2013     5:04 PM     FILE     FILED THIS DATE: 06/24/2013        (AV01)                                                         AJA
6/24/2013     5:04 PM     ASSJ     ASSIGNED TO JUDGE: ANNETTA H. VERIN           (AV01)                                              AJA
6/24/2013     5:04 PM     EORD     E-ORDER FLAG SET TO "N"             (AV01)                                                        AJA
6/24/2013     5:04 PM     SCAN     CASE SCANNED STATUS SET TO: N              (AV01)                                                 AJA
6/24/2013     5:04 PM     TDMJ     JURY TRIAL REQUESTED               (AV01)                                                         AJA
6/24/2013     5:04 PM     STAT     CASE ASSIGNED STATUS OF: ACTIVE             (AV01)                                                AJA
6/24/2013     5:04 PM     ORIG     ORIGIN: INITIAL FILING          (AV01)                                                            AJA
6/24/2013     5:04 PM     C001     C001 PARTY ADDED: FREDERICK BRANDI            (AV02)                                              AJA
6/24/2013     5:05 PM     C001     LISTED AS ATTORNEY FOR C001: KINDERMAN SPENCER AL                                                 AJA
6/24/2013     5:05 PM     C001     INDIGENT FLAG SET TO: N            (AV02)                                                         AJA
6/24/2013     5:05 PM     C001     LISTED AS ATTORNEY FOR C001: CARLISLE JOSEPH WEND                                                 AJA
6/24/2013     5:05 PM     C001     LISTED AS ATTORNEY FOR C001: PENTON SIMEON FRANKL                                                 AJA
6/24/2013     5:05 PM     C001     C001 E-ORDER FLAG SET TO "N"             (AV02)                                                   AJA
6/24/2013     5:05 PM     D001     D001 PARTY ADDED: SERVICE EXPERTS HEATING & AIR CO                                                AJA
6/24/2013     5:05 PM     D001     D001 E-ORDER FLAG SET TO "N"             (AV02)                                                   AJA
6/24/2013     5:05 PM     D001     CERTIFIED MAI ISSUED: 06/24/2013 TO D001     (AV02)                                               AJA
6/24/2013     5:05 PM     D001     INDIGENT FLAG SET TO: N            (AV02)                                                         AJA
6/24/2013     5:05 PM     D001     LISTED AS ATTORNEY FOR D001: PRO SE          (AV02)                                               AJA
6/24/2013     5:05 PM     D002     D002 PARTY ADDED: FREEMAN SCOTT              (AV02)                                               AJA
6/24/2013     5:05 PM     D002     LISTED AS ATTORNEY FOR D002: PRO SE          (AV02)                                               AJA
6/24/2013     5:05 PM     D002     PROCESS SERVE ISSUED: 06/24/2013 TO D002       (AV02)                                             AJA
6/24/2013     5:05 PM     D002     INDIGENT FLAG SET TO: N            (AV02)                                                         AJA
6/24/2013     5:05 PM     D002     D002 E-ORDER FLAG SET TO "N"             (AV02)                                                   AJA
6/24/2013     5:05 PM     D003     D003 PARTY ADDED: COLLINS BECKY             (AV02)                                                AJA
6/24/2013     5:05 PM     D003     INDIGENT FLAG SET TO: N            (AV02)                                                         AJA
6/24/2013     5:05 PM     D003     LISTED AS ATTORNEY FOR D003: PRO SE          (AV02)                                               AJA
6/24/2013     5:05 PM     D003     PROCESS SERVE ISSUED: 06/24/2013 TO D003       (AV02)                                             AJA
6/24/2013     5:05 PM     D003     D003 E-ORDER FLAG SET TO "N"             (AV02)                                                   AJA
6/24/2013     5:05 PM     EFILE    COMPLAINT - SUMMONS
7/1/2013      5:38 PM     ESERC    SERVICE RETURN - TRANSMITTAL
7/1/2013      5:38 PM     D001     SERVICE OF CERTIFIED MAI ON 06/28/2013 FOR D001                                                   AJA
7/1/2013      5:59 PM     ESCAN    SCAN - FILED 6/28/2013 - RETURN OF SERVICE                                                        SIC
7/2/2013      4:53 PM     ESCAN    SCAN - FILED 6/26/2013 - SUMMONS ISSUED                                                           DID
8/28/2013     1:26 PM     EDISC    NOTICE OF DISCOVERY E-FILED.                                                                      KIN045
8/28/2013     1:27 PM     ETRAN    DISCOVERY - TRANSMITTAL
10/8/2013     11:27 AM    ESCAN    SCAN - FILED 10/8/2013 - SUBPOENA REQUEST                                                         JEB



                                             © Alacourt.com      8/25/2014                 6
10/17/2013   3:58 PM    JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 10/17/2013 3:58:47 PM
10/17/2013   3:59 PM
                           CaseORDER
                        ETRAN
                                2:14-cv-01647-RDP
                                     - TRANSMITTAL
                                                   Document 1-1 Filed 08/25/14 Page 8 of 155
10/24/2013   10:19 AM   EALIA    ALIAS SUMMONS E-FILED                                                                 KIN045
10/24/2013   10:20 AM   D002     D002 ADDR1 CHANGED FROM: 92 OXMOOR ROAD               (AV02)                          AJA
10/24/2013   10:20 AM   D002     D002 ADDR CITY CHANGED FROM: BIRMINGHAM            (AV02)                             AJA
10/24/2013   10:20 AM   D002     REISSUE OF PROCESS SERV ON 10/24/2013 FOR D002                                        AJA
10/24/2013   10:20 AM   ETRAN    ALIAS SUMMONS - SUMMONS
10/28/2013   9:01 AM    EMOT     C001-EXTENSION OF TIME FILED.                                                         KIN045
10/28/2013   9:02 AM    ETRAN    MOTION - TRANSMITTAL
10/29/2013   7:30 AM    EMOT     C001-EXTENSION OF TIME /DOCKETED                                                      BEH
10/29/2013   5:56 PM    JEMOT    C001-EXTENSION OF TIME /SET FOR 01/21/2014 10:00 AM, LOCATION = JUDGE ANNETTA VERIN   J
10/29/2013   5:56 PM    JEMOT    C001-EXTENSION OF TIME /DISPOSED BY SEPARATE ORDER                                    J
10/29/2013   5:56 PM    ETRAN    SET FOR HEARING - TRANSMITTAL
11/14/2013   1:09 PM    DAT4     FOR: MOTION/EXTENSION ON 01/21/2014 @ 1000A (AV01)                                    DID
12/6/2013    11:04 AM   EANSW    D001 - COMPLAINT DENIED E-FILED.                                                      DYK002
12/6/2013    11:04 AM   EANSW    D002 - COMPLAINT DENIED E-FILED.                                                      DYK002
12/6/2013    11:04 AM   ETRAN    ANSWER - TRANSMITTAL
12/6/2013    11:05 AM   D001     LISTED AS ATTORNEY FOR D001: DYKES JONATHAN TOBIA                                     AJA
12/6/2013    11:05 AM   D001     ANSWER OF COMP DENIED ON 12/06/2013 FOR D001(AV02)                                    AJA
12/6/2013    11:05 AM   D002     LISTED AS ATTORNEY FOR D002: DYKES JONATHAN TOBIA                                     AJA
12/6/2013    11:05 AM   D002     ANSWER OF COMP DENIED ON 12/06/2013 FOR D002(AV02)                                    AJA
12/12/2013   1:40 PM    DAT1     FOR: SCHEDULING CONF ON 01/21/2014 @ 1000A (AV01)                                     DID
12/20/2013   4:22 PM    ESCAN    SCAN - FILED 12/20/2013 - RETURNED MAIL                                               VIH
12/20/2013   4:22 PM    ESCAN    SCAN - FILED 12/20/2013 - RETURNED MAIL                                               VIH
12/30/2013   12:58 PM   ESCAN    SCAN - FILED 12/2/2013 - RETURNED MAIL                                                DIS
1/21/2014    10:04 AM   JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 1/21/2014 10:04:32 AM     J
1/21/2014    10:04 AM   ETRAN    ORDER - TRANSMITTAL
1/21/2014    10:08 AM   JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 1/21/2014 10:08:15 AM     J
1/21/2014    10:08 AM   ETRAN    ORDER - TRANSMITTAL
2/24/2014    7:11 PM    DAT1     FOR: STATUS CONFERENCE ON 03/21/2014 @ 0830A(AV01)                                    SIC
2/25/2014    4:09 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                          CAR170
2/25/2014    4:10 PM    ETRAN    DISCOVERY - TRANSMITTAL
3/14/2014    4:55 PM    ESCAN    SCAN - FILED 3/14/2014 - RETURNED MAIL                                                BRW
3/20/2014    4:53 PM    EAMEN    AMENDED COMPLAINT E-FILED.                                                            KIN045
3/20/2014    4:53 PM    D004     D004 PARTY ADDED: EQUIGUARD, INC.            (AV02)                                   AJA
3/20/2014    4:53 PM    D004     INDIGENT FLAG SET TO: N             (AV02)                                            AJA
3/20/2014    4:53 PM    D004     CERTIFIED MAI ISSUED: 03/20/2014 TO D004     (AV02)                                   AJA
3/20/2014    4:53 PM    D004     D004 E-ORDER FLAG SET TO "N"              (AV02)                                      AJA
3/20/2014    4:53 PM    D005     D005 PARTY ADDED: GENERAL ELECTRIC CAPITAL CORPORA                                    AJA
3/20/2014    4:53 PM    D005     INDIGENT FLAG SET TO: N             (AV02)                                            AJA
3/20/2014    4:53 PM    D005     CERTIFIED MAI ISSUED: 03/20/2014 TO D005     (AV02)                                   AJA
3/20/2014    4:53 PM    D005     D005 E-ORDER FLAG SET TO "N"              (AV02)                                      AJA
3/20/2014    4:53 PM    ETRAN    COMPLAINT - TRANSMITTAL
3/20/2014    4:53 PM    ETRAN    COMPLAINT - SUMMONS
3/21/2014    8:39 AM    JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 3/21/2014 8:39:20 AM      J
3/21/2014    8:39 AM    ETRAN    ORDER - TRANSMITTAL
3/24/2014    12:32 PM   DAT1     FOR: STATUS CONFERENCE ON 06/04/2014 @ 0900A(AV01)                                    SIC
3/27/2014    2:26 PM    ESCAN    SCAN - FILED 3/27/2014 - CERTIFIED MAIL                                               BRW
4/2/2014     1:49 PM    ESCAN    SCAN - FILED 4/2/2014 - CORRESPONDENCE                                                BRW
4/3/2014     8:31 AM    ETRAN    SERVICE RETURN - TRANSMITTAL
4/3/2014     8:32 AM    D005     SERVICE OF CERTIFIED MAI ON 03/31/2014 FOR D005                                       AJA
4/3/2014     11:06 AM   EANSW    D001 - COMPLAINT DENIED E-FILED.                                                      DYK002
4/3/2014     11:06 AM   EANSW    D002 - COMPLAINT DENIED E-FILED.                                                      DYK002


                                           © Alacourt.com      8/25/2014                   7
4/3/2014    11:07 AM   ETRAN    ANSWER - TRANSMITTAL
4/3/2014    11:08 AM
                          CaseANSWER
                       D001
                               2:14-cv-01647-RDP      Document 1-1 Filed 08/25/14 Page 9 of 155
                                     OF COMP DENIED ON 04/03/2014 FOR D001(AV02)                                   AJA
4/3/2014    11:08 AM   D002     ANSWER OF COMP DENIED ON 04/03/2014 FOR D002(AV02)                                 AJA
4/8/2014    8:55 AM    ESCAN    SCAN - FILED 3/31/2014 - RETURN OF SERVICE                                         RHH
4/8/2014    8:57 AM    ESCAN    SCAN - FILED 3/31/2014 - RETURN OF SERVICE                                         RHH
4/10/2014   8:55 AM    ESCAN    SCAN - FILED 4/10/2014 - CORRESPONDENCE                                            BRW
4/16/2014   1:18 PM    EMISC    NOTICE OF REMOVAL E-FILED                                                          DYK002
4/16/2014   1:19 PM    ETRAN    MISCELLANEOUS - TRANSMITTAL
4/17/2014   8:35 AM    EORD     E-ORDER FLAG SET TO "Y"            (AV01)                                          SIC
4/17/2014   8:35 AM    DISP     DISPOSED ON: 04/16/2014 BY (RMVL FED COURT) (AV01)                                 SIC
4/17/2014   8:35 AM    CACJ     COURT ACTION JUDGE: ANNETTA H. VERIN          (AV01)                               SIC
4/17/2014   8:35 AM    STAT     CASE ASSIGNED STATUS OF: DISPOSED            (AV01)                                SIC
4/17/2014   8:35 AM    PDIS     C001 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   8:35 AM    PDIS     D001 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   8:35 AM    PDIS     D002 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   8:35 AM    PDIS     D003 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   8:35 AM    PDIS     D004 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   8:35 AM    PDIS     D005 DISPOSED BY (RMVL FED COURT) ON 04/16/2014                                    SIC
4/17/2014   12:43 PM   D004     RETURN OF OTHER ON 04/03/2014 FOR D004       (AV02)                                SIC
4/17/2014   12:45 PM   TEXT     (CT CORP IS NO LONGER AGENT FOR PROCESS)                                           SIC
4/17/2014   12:50 PM   ETRAN    SERVICE RETURN - TRANSMITTAL
4/17/2014   4:35 PM    ESCAN    SCAN - FILED 4/3/2014 - RETURN OF NON SERVICE                                      BRW
7/29/2014   4:26 PM    TEXT     ORDER REMANDING CASE TO CIRCUIT COURT                                              SIC
7/29/2014   4:26 PM    STAT     CASE ASSIGNED STATUS OF: ACTIVE           (AV01)                                   SIC
7/29/2014   4:26 PM    VDCA     COURT ACTION ENTRY REVISED            (AV01)                                       SIC
7/29/2014   4:26 PM    C001     C001 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:33 PM    D001     LISTED AS ATTORNEY FOR D001: SANSBURY MICHAEL TOD                                  SIC
7/29/2014   4:33 PM    D001     LISTED AS ATTORNEY FOR D001: KIPP GRACE LONG(AV02)                                 SIC
7/29/2014   4:33 PM    D001     D001 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:34 PM    D002     LISTED AS ATTORNEY FOR D002: KIPP GRACE LONG(AV02)                                 SIC
7/29/2014   4:34 PM    D002     D002 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:35 PM    D003     D003 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:35 PM    D004     D004 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:42 PM    D005     LISTED AS ATTORNEY FOR D005: FORD SARA ANNE CARTE                                  SIC
7/29/2014   4:42 PM    D005     D005 COURT ACTION ENTRY REVISED           (AV02)                                   SIC
7/29/2014   4:42 PM    D005     LISTED AS ATTORNEY FOR D005: HOLLIS LEE MAXWELL                                    SIC
7/29/2014   4:42 PM    D005     LISTED AS ATTORNEY FOR D005: DOSS JEFFREY PAUL                                     SIC
7/29/2014   4:47 PM    ESCAN    SCAN - FILED 7/28/2014 - ORDER                                                     SIC
7/30/2014   3:42 PM    EMISC    RETURN ON SERVICE E-FILED                                                          KIN045
7/30/2014   4:39 PM    ETRAN    MISCELLANEOUS - TRANSMITTAL
8/20/2014   11:21 AM   EMOT     C001-OTHER - NOTICE OF DISMISSAL FILED.                                            KIN045
8/20/2014   11:23 AM   ETRAN    MOTION - TRANSMITTAL
8/20/2014   2:46 PM    JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 8/20/2014 2:46:44 PM   J
8/20/2014   2:46 PM    ETRAN    ORDER - TRANSMITTAL
8/20/2014   2:49 PM    JEORDE   ORDER E-FILED - ORDER - ORDER E-FILED - RENDERED & ENTERED: 8/20/2014 2:49:29 PM   J
8/20/2014   2:50 PM    ETRAN    ORDER - TRANSMITTAL
8/20/2014   4:08 PM    EMOT     C001-OTHER /DOCKETED                                                               SIC
8/21/2014   1:18 PM    JEMOT    C001-OTHER /DISPOSED BY SEPARATE ORDER                                             J


                                                           END OF THE REPORT




                                          © Alacourt.com     8/25/2014                 8
                                                                                                           ELECTRONICALLY FILED
State of Alabama      Case 2:14-cv-01647-RDP Document 1-1 Filed
                                                           Case 08/25/14
                                                                Number:  Page 10 6/24/2013
                                                                                 of 155 5:01 PM
Unified Judicial System              COVER SHEET                               68-CV-2013-900453.00
                             CIRCUIT COURT - CIVIL CASE
                                                           68-CV-2013-900453.00CIRCUIT COURT OF
                                                                                  Date of Filing:       JEFFERSON
                                                                                                              JudgeCOUNTY,
                                                                                                                    Code:  ALABAMA
Form ARCiv-93      Rev.5/99        (Not For Domestic Relations Cases)                                     KAREN DUNN BURKS, CLERK
                                                                                  06/24/2013

                                           GENERAL INFORMATION
                         IN THE CIRCUIT OF JEFFERSON COUNTY, ALABAMA
            BRANDI FREDERICK v. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET AL

First Plaintiff:      Business           Individual            First Defendant:       Business           Individual
                      Government         Other                                        Government         Other

NATURE OF SUIT:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)

     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture
     TONG - Negligence: General                                     Appeal/Enforcement of Agency Subpoena/Petition to
                                                                    Preserve
     TOMV - Negligence: Motor Vehicle
                                                             CVRT - Civil Rights
     TOWA - Wantonnes
     TOPL - Product Liability/AEMLD                          COND - Condemnation/Eminent Domain/Right-of-Way
                                                             CTMP-Contempt of Court
     TOMM - Malpractice-Medical
                                                             CONT-Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal
                                                             TOCN - Conversion
     TOOM - Malpractice-Other
                                                             EQND- Equity Non-Damages Actions/Declaratory
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                                    Judgment/Injunction Election Contest/Quiet Title/Sale For
     TOXX - Other:                                                  Division
                                                             CVUD-Eviction Appeal/Unlawfyul Detainer
TORTS: PERSONAL INJURY
                                                             FORJ-Foreign Judgment
     TOPE - Personal Property                                FORF-Fruits of Crime Forfeiture
     TORE - Real Property                                    MSHC-Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
                                                             PFAB-Protection From Abuse
OTHER CIVIL FILINGS                                          FELA-Railroad/Seaman (FELA)
                                                             RPRO-Real Property
     ABAN - Abandoned Automobile
                                                             WTEG-Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP-Workers' Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX-Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Services

ORIGIN:       F      INITIAL FILING                     A       APPEAL FROM                         O     OTHER
                                                                DISTRICT COURT
              R      REMANDED                            T      TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

HAS JURY TRIAL BEEN DEMANDED?                   Yes    No

RELIEF REQUESTED:                       MONETARY AWARD REQUESTED                  NO MONETARY AWARD REQUESTED

ATTORNEY CODE:           KIN045                  6/24/2013 5:01:10 PM                         /s/ SPENCER ALAN KINDERMAN


MEDIATION REQUESTED:                            Yes    No         Undecided
                                                        ELECTRONICALLY FILED
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 11 6/24/2013
                                                           of 155 5:01 PM
                                                          68-CV-2013-900453.00
                                                           CIRCUIT COURT OF
                                                     JEFFERSON COUNTY, ALABAMA
                                                       KAREN DUNN BURKS, CLERK
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 12 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 13 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 14 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 15 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 16 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 17 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 18 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 19 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 20 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 21 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 22 of 155
                    Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 23 of 155
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                  - CIVIL -
                                                                                        68-CV-2013-900453.00
Form C-34 Rev 6/88


                            IN THE CIVIL COURT OF JEFFERSON, ALABAMA
              BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                   SCOTT FREEMAN, 92 OXMOOR ROAD, BIRMINGHAM, AL 35209
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY SPENCER ALAN KINDERMAN
  WHOSE ADDRESS IS 3595 Grandview Parkway, Suite 400, BIRMINGHAM, AL 35242


  THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
  YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
  DEMANDED IN THE COMPLAINT.
  TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:


    You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

     Service by certified mail of this summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure

  6/24/2013 5:01:10 PM                          /s KAREN DUNN BURKS
  Date                                          Clerk/Register                                            By



    Certified mail is hereby requested
                                                Plaintiff's/Attorney's Signature

  RETURN ON SERVICE:

    Return receipt of certified mail received in this office on
     I certify that I personally delivered a copy of the Summons and Complaint to

                                 in                                                County, Alabama on



  Date                                          Server's Signature
                    Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 24 of 155
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                  - CIVIL -
                                                                                        68-CV-2013-900453.00
Form C-34 Rev 6/88


                            IN THE CIVIL COURT OF JEFFERSON, ALABAMA
              BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                   BECKY COLLINS, 92 OXMOOR ROAD, BIRMINGHAM, AL 35209
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY SPENCER ALAN KINDERMAN
  WHOSE ADDRESS IS 3595 Grandview Parkway, Suite 400, BIRMINGHAM, AL 35242


  THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
  YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
  DEMANDED IN THE COMPLAINT.
  TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:


    You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

     Service by certified mail of this summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure

  6/24/2013 5:01:10 PM                          /s KAREN DUNN BURKS
  Date                                          Clerk/Register                                            By



    Certified mail is hereby requested
                                                Plaintiff's/Attorney's Signature

  RETURN ON SERVICE:

    Return receipt of certified mail received in this office on
     I certify that I personally delivered a copy of the Summons and Complaint to

                                 in                                                County, Alabama on



  Date                                          Server's Signature
                    Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 25 of 155
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                  - CIVIL -
                                                                                        68-CV-2013-900453.00
Form C-34 Rev 6/88


                            IN THE CIVIL COURT OF JEFFERSON, ALABAMA
              BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                   SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC, C/O CSC LAWYERS 150 SOUTH PERRY STREET, MONTGOMERY, AL 36104
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY SPENCER ALAN KINDERMAN
  WHOSE ADDRESS IS 3595 Grandview Parkway, Suite 400, BIRMINGHAM, AL 35242


  THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
  YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
  DEMANDED IN THE COMPLAINT.
  TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:


    You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

     Service by certified mail of this summons is initiated upon the written request of     BRANDI FREDERICK
     pursuant to the Alabama Rules of the Civil Procedure

  6/24/2013 5:01:10 PM                          /s KAREN DUNN BURKS
  Date                                          Clerk/Register                                                 By


                                                /s SPENCER ALAN KINDERMAN
    Certified mail is hereby requested
                                                Plaintiff's/Attorney's Signature

  RETURN ON SERVICE:

    Return receipt of certified mail received in this office on
     I certify that I personally delivered a copy of the Summons and Complaint to

                                 in                                                County, Alabama on



  Date                                          Server's Signature
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 26 of 155


                                      AlaFile E-Notice




                                                                            68-CV-2013-900453.00
                                                                      Judge: ANNETTA H. VERIN
To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                            NOTICE OF SERVICE
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                            The following matter was served on 6/28/2013

                    D001 SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC
                                         CERTIFIED MAIL




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                         BESSEMER, AL 35020

                                                                                      205-497-8510
                                                                           karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 27 of 155


                                     AlaFile E-Notice




                                                                           68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                          NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                           The following matter was served on 6/28/2013

                   D001 SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC
                                        CERTIFIED MAIL




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                        BESSEMER, AL 35020

                                                                                     205-497-8510
                                                                          karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 28 of 155


                                    AlaFile E-Notice




                                                                          68-CV-2013-900453.00
                                                                    Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                         NOTICE OF SERVICE
                 IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                          The following matter was served on 6/28/2013

                  D001 SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC
                                       CERTIFIED MAIL




                                                                      KAREN DUNN BURKS
                                                                    CIRCUIT COURT CLERK
                                                             JEFFERSON COUNTY, ALABAMA
                                                                  1851 2ND AVENUE NORTH
                                                                       BESSEMER, AL 35020

                                                                                    205-497-8510
                                                                         karen.burks@alacourt.gov
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 29 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 30 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 31 of 155
                                                        ELECTRONICALLY FILED
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 32 8/28/2013
                                                           of 155 1:26 PM
                                                          68-CV-2013-900453.00
                                                           CIRCUIT COURT OF
                                                     JEFFERSON COUNTY, ALABAMA
                                                       KAREN DUNN BURKS, CLERK
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 33 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 34 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 35 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 36 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 37 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 38 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 39 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 40 of 155
            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 41 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00


To: SPENCER ALAN KINDERMAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                      The following discovery was FILED on 8/28/2013 1:26:50 PM




     Notice Date:    8/28/2013 1:26:50 PM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 42 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC (PRO SE)
    C/O CSC LAWYERS
    150 SOUTH PERRY STREET
    MONTGOMERY, AL 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 8/28/2013 1:26:50 PM




    Notice Date:    8/28/2013 1:26:50 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 43 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: FREEMAN SCOTT (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 8/28/2013 1:26:50 PM




    Notice Date:    8/28/2013 1:26:50 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 44 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 8/28/2013 1:26:50 PM




    Notice Date:    8/28/2013 1:26:50 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 45 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 8/28/2013 1:26:50 PM




    Notice Date:    8/28/2013 1:26:50 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 46 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 8/28/2013 1:26:50 PM




    Notice Date:    8/28/2013 1:26:50 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 47 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 48 of 155
                                                                        ELECTRONICALLY FILED
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 4910/17/2013
                                                                 of 155 3:58 PM
                                                                          68-CV-2013-900453.00
                                                                           CIRCUIT COURT OF
                                                                     JEFFERSON COUNTY, ALABAMA
                                                                       KAREN DUNN BURKS, CLERK

           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                            BESSEMER DIVISION


FREDERICK BRANDI,                          )
Plaintiff,                                 )
                                           )
V.                                         ) Case No.:      CV-2013-900453.00
                                           )
SERVICE EXPERTS HEATING & AIR              )
CONDITIONING, LLC,
FREEMAN SCOTT,                             )
COLLINS BECKY,                             )
Defendants.                                )


                                        ORDER

THIS CAUSE IS SET FOR SCHEDULING CONFERENCE 10:00 a.m. January 21,
2014. Attorneys and persons representing themselves are ordered to attend this
mandatory conference and appear at least 15 minutes before the scheduled time for
brief pre-conference introduction to and discussion with opposing counsel/self-
represented litigants.

Plaintiffs’ failure to appear shall result in their claims being dismissed. Defendants’
failure to appear shall result in their claims being dismissed; defenses and responsive
pleadings stricken; an order finding such defendant in default and the prompt setting of
a hearing for Plaintiff to prove damages.

The court anticipates the actual conference lasting no more than 10 minutes.
Attendees should be prepared to give a brief, no more than 1-minute summary of their
factual contention(s) (i.e., what the case is about) and to address the following matters:

1. DISCOVERY CUTOFF DATE;

2. A FIRM TRIAL DATE WHICH ALL UNDERSTAND WILL NOT BE CONTINUED
SAVE FOR AN EMERGENCY; and,

3. VARIATIONS TO THE STANDARD SCHEDULING ORDER.

While other matters may be addressed during the conference requests for relief not
agreed upon will almost always be addressed at a subsequent hearing.
DONE this 17th day of October, 2013.

                                          /s/ ANNETTA H. VERIN
                                          CIRCUIT JUDGE
            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 50 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                      Judge: ANNETTA H. VERIN
To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                       The following matter was FILED on 10/17/2013 3:58:47 PM




     Notice Date:    10/17/2013 3:58:47 PM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 51 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/17/2013 3:58:47 PM




    Notice Date:    10/17/2013 3:58:47 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 52 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/17/2013 3:58:47 PM




    Notice Date:    10/17/2013 3:58:47 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 53 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC (PRO SE)
    C/O CSC LAWYERS
    150 SOUTH PERRY STREET
    MONTGOMERY, AL 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/17/2013 3:58:47 PM




    Notice Date:    10/17/2013 3:58:47 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 54 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: FREEMAN SCOTT (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/17/2013 3:58:47 PM




    Notice Date:    10/17/2013 3:58:47 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 55 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/17/2013 3:58:47 PM




    Notice Date:    10/17/2013 3:58:47 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
                                                        ELECTRONICALLY FILED
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 5610/24/2013
                                                           of 155 10:19 AM
                                                          68-CV-2013-900453.00
                                                           CIRCUIT COURT OF
                                                     JEFFERSON COUNTY, ALABAMA
                                                       KAREN DUNN BURKS, CLERK
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 57 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 58 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 59 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 60 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 61 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 62 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 63 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 64 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 65 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 66 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 67 of 155
                    Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 68 of 155
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                  - CIVIL -
                                                                                        68-CV-2013-900453.00
Form C-34 Rev 6/88


                            IN THE CIVIL COURT OF JEFFERSON, ALABAMA
              BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                   SCOTT FREEMAN, 20 EAGLEWOOD FARMS ROAD, MAYLENE, AL 35114
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY SPENCER ALAN KINDERMAN
  WHOSE ADDRESS IS 3595 Grandview Parkway, Suite 400, BIRMINGHAM, AL 35242


  THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
  YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
  DEMANDED IN THE COMPLAINT.
  TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:


    You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

     Service by certified mail of this summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure

  10/24/2013 10:19:51 AM                        /s KAREN DUNN BURKS
  Date                                          Clerk/Register                                            By



    Certified mail is hereby requested
                                                Plaintiff's/Attorney's Signature

  RETURN ON SERVICE:

    Return receipt of certified mail received in this office on
     I certify that I personally delivered a copy of the Summons and Complaint to

                                 in                                                County, Alabama on



  Date                                          Server's Signature
                                                                                                                                      ELECTRONICALLY FILED
         Case 2:14-cv-01647-RDP
STATE OF ALABAMA                    Document 1-1 Filed 08/25/14 Page 6910/28/2013
                            Revised 3/5/08                              of 155 9:01 AM
                                                           Case No.
Unified Judicial System                                                                                                       68-CV-2013-900453.00
                                                                                                                               CIRCUIT COURT OF
68-JEFFERSON                                                District Court           Circuit Court                CV201390045300
                                                                                                                         JEFFERSON COUNTY, ALABAMA
                                                                                                                           KAREN DUNN BURKS, CLERK
                                                                                                CIVIL MOTION COVER SHEET
BRANDI FREDERICK V. SERVICE EXPERTS
                                                                                 Name of Filing Party: C001 - FREDERICK BRANDI
HEATING & AIR CONDITIONING, LLC ET


Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                       Oral Arguments Requested
 SPENCER ALAN KINDERMAN
 3595 Grandview Parkway, Suite 400
 BIRMINGHAM, AL 35242
Attorney Bar No.: KIN045

                                                                      TYPE OF MOTION
                       Motions Requiring Fee                                                                      Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion (i.e.                                      Amend
      Summary Judgment, Judgment on the Pleadings, or                                        Change of Venue/Transfer
      other Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
                                                                                             Consolidation
      Judgment on the Pleadings ($50.00)
                                                                                             Continue
      Motion to Dismiss, or in the Alternative Summary                                       Deposition
      Judgment($50.00)
                                                                                             Designate a Mediator
      Renewed Dispositive Motion(Summary Judgment,
                                                                                             Judgment as a Matter of Law (during Trial)
      Judgment on the Pleadings, or other Dispositive
      Motion not pursuant to Rule 12(b)) ($50.00)                                            Disburse Funds
                                                                                             Extension of Time
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             In Limine
      Motion to Intervene ($297.00)                                                          Joinder
                                                                                             More Definite Statement
      Other                                                                                  Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Rule                                                      ($50.00)             New Trial
                                                                                             Objection of Exemptions Claimed
                                                                                             Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
  *Motion fees are enumerated in §12-19-71(a). Fees
  pursuant to Local Act are not included. Please contact the                                 Preliminary Injunction
  Clerk of the Court regarding applicable local fees.                                        Protective Order
                                                                                             Quash
      Local Court Costs $                                                                    Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                           Other
                                                                                         pursuant to Rule                                 (Subject to Filing Fee)

Check here if you have filed or are filing                   Date:                                                  Signature of Attorney or Party:
contemoraneously with this motion an Affidavit of
Substantial Hardship or if you are filing on behalf of an                                                          /s/ SPENCER ALAN KINDERMAN
agency or department of the State, county, or municipal      10/28/2013 9:00:33 AM
government. (Pursuant to §6-5-1 Code of Alabama
(1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                                        ELECTRONICALLY FILED
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 7010/28/2013
                                                           of 155 9:01 AM
                                                          68-CV-2013-900453.00
                                                           CIRCUIT COURT OF
                                                     JEFFERSON COUNTY, ALABAMA
                                                       KAREN DUNN BURKS, CLERK
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 71 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 72 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 73 of 155
            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 74 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                      Judge: ANNETTA H. VERIN
To: SPENCER ALAN KINDERMAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                       The following matter was FILED on 10/28/2013 9:01:49 AM

                                      C001 FREDERICK BRANDI
                                  MOTION FOR EXTENSION OF TIME
                                  [Filer: KINDERMAN SPENCER ALAN]


     Notice Date:    10/28/2013 9:01:49 AM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 75 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC (PRO SE)
    C/O CSC LAWYERS
    150 SOUTH PERRY STREET
    MONTGOMERY, AL 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/28/2013 9:01:49 AM

                                     C001 FREDERICK BRANDI
                               MOTION FOR EXTENSION OF TIME
                                [Filer: KINDERMAN SPENCER ALAN]


    Notice Date:    10/28/2013 9:01:49 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 76 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: FREEMAN SCOTT (PRO SE)
    20 EAGLEWOOD FARMS ROAD
    MAYLENE, AL 35114-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/28/2013 9:01:49 AM

                                     C001 FREDERICK BRANDI
                               MOTION FOR EXTENSION OF TIME
                                [Filer: KINDERMAN SPENCER ALAN]


    Notice Date:    10/28/2013 9:01:49 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 77 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/28/2013 9:01:49 AM

                                     C001 FREDERICK BRANDI
                                MOTION FOR EXTENSION OF TIME
                                [Filer: KINDERMAN SPENCER ALAN]


    Notice Date:    10/28/2013 9:01:49 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 78 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/28/2013 9:01:49 AM

                                     C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]


    Notice Date:    10/28/2013 9:01:49 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 79 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 10/28/2013 9:01:49 AM

                                     C001 FREDERICK BRANDI
                                MOTION FOR EXTENSION OF TIME
                                [Filer: KINDERMAN SPENCER ALAN]


    Notice Date:    10/28/2013 9:01:49 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
            Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 80 of 155


                                            AlaFile E-Notice




                                                                          68-CV-2013-900453.00
                                                                    Judge: ANNETTA H. VERIN
To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                       NOTICE OF CASE SETTING
                     IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                              The following matter was SET FOR HEARING

                                       C001 FREDERICK BRANDI
                                  MOTION FOR EXTENSION OF TIME
                                  [Filer: KINDERMAN SPENCER ALAN]

     Hearing Date:    01/21/2014
     Hearing Time:    10:00:00 AM
     Location:        Judge Annetta Verin

     Notice Date:     10/29/2013 5:55:59 PM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                    205-497-8510
                                                                         karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 81 of 155


                                           AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                   Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                      NOTICE OF CASE SETTING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                             The following matter was SET FOR HEARING

                                      C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]

    Hearing Date:    01/21/2014
    Hearing Time:    10:00:00 AM
    Location:        Judge Annetta Verin

    Notice Date:     10/29/2013 5:55:59 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 82 of 155


                                           AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                   Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                      NOTICE OF CASE SETTING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                             The following matter was SET FOR HEARING

                                      C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]

    Hearing Date:    01/21/2014
    Hearing Time:    10:00:00 AM
    Location:        Judge Annetta Verin

    Notice Date:     10/29/2013 5:55:59 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 83 of 155


                                           AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                   Judge: ANNETTA H. VERIN
To: SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC (PRO SE)
    C/O CSC LAWYERS
    150 SOUTH PERRY STREET
    MONTGOMERY, AL 36104-0000




                      NOTICE OF CASE SETTING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                             The following matter was SET FOR HEARING

                                      C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]

    Hearing Date:    01/21/2014
    Hearing Time:    10:00:00 AM
    Location:        Judge Annetta Verin

    Notice Date:     10/29/2013 5:55:59 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 84 of 155


                                           AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                   Judge: ANNETTA H. VERIN
To: FREEMAN SCOTT (PRO SE)
    20 EAGLEWOOD FARMS ROAD
    MAYLENE, AL 35114-0000




                      NOTICE OF CASE SETTING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                             The following matter was SET FOR HEARING

                                      C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]

    Hearing Date:    01/21/2014
    Hearing Time:    10:00:00 AM
    Location:        Judge Annetta Verin

    Notice Date:     10/29/2013 5:55:59 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 85 of 155


                                           AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                   Judge: ANNETTA H. VERIN
To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                      NOTICE OF CASE SETTING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                             The following matter was SET FOR HEARING

                                      C001 FREDERICK BRANDI
                                 MOTION FOR EXTENSION OF TIME
                                 [Filer: KINDERMAN SPENCER ALAN]

    Hearing Date:    01/21/2014
    Hearing Time:    10:00:00 AM
    Location:        Judge Annetta Verin

    Notice Date:     10/29/2013 5:55:59 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
                                                                    ELECTRONICALLY FILED
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 8612/6/2013
                                                                 of 155 11:04 AM
                                                                     68-CV-2013-900453.00
                                                                      CIRCUIT COURT OF
                                                                JEFFERSON COUNTY, ALABAMA
                                                                  KAREN DUNN BURKS, CLERK
     IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                      BESSEMER DIVISION

BRANDI FREDERICK,                             )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )
                                                      CIVIL ACTION NO.
                                              )
                                                      68-CV-2013-900453
SERVICE EXPERTS HEATING &                     )
AIR CONDITIONING, LLC F/K/A                   )
STEEL CITY SERVICE EXPERTS,                   )
F/K/A STEEL CITY HEATING &                    )
AIR; SCOTT FREEMAN; BECKY                     )
COLLINS, Defendants.                          )

                            ANSWER TO COMPLAINT

       Defendants Service Experts, LLC formerly known as Steel City Heating &

Air, improperly referred to in the Complaint as Service Experts Heating & Air

Conditioning LLC (“Service Experts”) and Scott Freeman (collectively referred to

as “defendants”) answer plaintiff’s Complaint as follows:

                                     PARTIES

       1.        Defendants admit that plaintiff is over the age of nineteen (19).

Defendants are without sufficient information to admit or deny the remaining

allegations contained in paragraph 1 of the Complaint; therefore, they are denied.

       2.       Defendant Service Experts admits the allegations contained in

paragraph 2 of the Complaint. Defendant Service Experts denies any wrongdoing

in this case.

                                          1
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 87 of 155



      3.    Defendant Freeman admits the allegations contained in paragraph 3 of

the Complaint. Defendant Freeman denies any wrongdoing in this case.

      4.    Defendants admit that a Becky Collins was a salesperson for

defendant Service Experts in March 2007.        Defendants are without sufficient

information to admit or deny the remaining allegations contained in paragraph 4 of

the Complaint; therefore they are denied.      Defendant Service Experts has no

employee named Becky Collins working for it in the Birmingham area at this time.

      5.    Paragraph 5 of the Complaint requires neither an admission nor a

denial. However, defendants deny committing any wrongdoing.

      6.    Paragraph 6 of the Complaint requires neither an admission nor a

denial. However, defendants deny any wrongdoing.

      7.    Defendants admit that plaintiff has sued Service Experts, Scott

Freeman, and a Becky Collins. Defendants further assert that this answer is only

being filed on behalf of Service Experts and Scott Freeman.

      8.    Defendants admit that plaintiff contacted defendant Service Expert in

or about March 2007 about the replacement of her HVAC unit. Defendants are

without sufficient information to admit or deny the remaining allegations contained

in paragraph 8 of the Complaint; therefore, they are denied.

      9.    Defendants admit that plaintiff bought a new Trane HVAC unit in or

about March 2007 from defendant Service Experts. Defendants further admit that



                                         2
        Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 88 of 155



Service Experts sold extended warranties through Equiguard in or about March

2007.     Defendants are without sufficient information to admit or deny the

remaining allegations contained in paragraph 9 of the Complaint; therefore, they

are denied.

        10.   Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 10 of the Complaint; therefore, they are denied.

Defendants deny that plaintiff purchased a Trane extended warranty in March of

2007.

        11.   Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 11 of the Complaint; therefore, they are denied.

Defendants deny that plaintiff purchased a Trane extended warranty in March of

2007.

        12.   Defendants admit that plaintiff purchased a Trane HVAC unit from

Service Experts in or about March 2007.          Defendants deny the remaining

allegations contained in paragraph 12 of the Complaint.

        13.   Defendants admit that the HVAC unit plaintiff purchased was a

Trane.

        14.   Defendants deny the allegations contained in paragraph 14 of the

Complaint.




                                        3
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 89 of 155



      15.     Defendants deny the allegations contained in paragraph 15 of the

Complaint. Defendants further deny that plaintiff purchased a Trane warranty.

      16.     Defendants admit that plaintiff purchased a new Trane HVAC from

defendant Service Expert. Defendants further admit that the Agreement speaks for

itself. Defendants are without sufficient information to admit or deny the

remaining allegations contained in paragraph 16 of the Complaint; therefore, they

are denied.

      17.     Defendants admit that the Agreement speaks for itself. Defendants

are without sufficient information to admit or deny the remaining allegations

contained in paragraph 17 of the Complaint.

      18.     Defendants admit that the total home comfort investment was

$17,845. Defendants deny the remaining allegations contained in paragraph 18 of

the Complaint.

      19.     Defendants admit that plaintiff requested service on the Trane HVAC

unit in June 2011.

      20.     Defendants admit that plaintiff contacted another HVAC company to

inspect the Trane unit defendant Service Experts sold plaintiff in or about March

2007. Defendants are without sufficient information or belief to admit or deny the

remaining allegations contained in paragraph 20 of the Complaint; therefore, they

are denied.



                                        4
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 90 of 155



      21.    Defendants admits that they paid for the cost to fix the problem with

plaintiff’s HVAC unit in or about June 2011. Defendants are without sufficient

information to admit or deny the remaining allegations contained in paragraph 21

of the Complaint; therefore, they are denied.

      22.    Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 22 of the Complaint. However, defendants

admit that they paid for the cost to fix the problem with plaintiff’s HVAC unit in or

about June 2011.

      23.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.       Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane

HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 23 of the Complaint.

      24.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.       Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane



                                         5
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 91 of 155



HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 24 of the Complaint.

      25.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.      Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane

HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 25 of the Complaint.

      26.    Defendants admit that Equiguard filed for bankruptcy; however,

defendants further admit that the warranties through Equiguard are still being

honored. Defendants deny the remaining allegations contained in paragraph 26 of

the Complaint.

                    COUNT I – BREACH OF CONTRACT

      27.    Defendants adopt and re-assert their answers to paragraph 1-26 of the

Complaint.

      28.    Defendants admit that defendant Service Experts sold plaintiff a Trane

HVAC in or about March 2007.         Defendants deny the remaining allegations

contained in paragraph 28 of the Complaint.




                                         6
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 92 of 155



       29.    Defendants admit that defendant Service Experts sold plaintiff a Trane

HVAC in or about March 2007.             Defendants deny the remaining allegations

contained in paragraph 29 of the Complaint.

       30.    Defendants deny the allegations contained in paragraph 30 of the

Complaint. Defendants further assert that defendant Freeman paid for a Trane

extended warranty for plaintiff in September of 2011.

       31.    Defendants admit that plaintiff financed the new Trane HVAC unit.

Defendants deny the remaining allegations contained in paragraph 31 of the

Complaint.

       32.    Defendants deny the allegations contained in paragraph 32 of the

Complaint.

       33.    Defendants deny the allegations contained in paragraph 33 of the

Complaint, and defendants specifically deny that plaintiff has suffered any

damages whatsoever.

       The remainder of Count One contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.




                                             7
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 93 of 155



                              COUNT II- FRAUD

      34.    Defendants adopt and re-assert their answers to paragraphs 1-33 of the

Complaint.

      35.    Defendants admit that the Agreement speaks for itself. Defendants

deny the remaining allegations contained in paragraph 35 of the Complaint and

further deny committing any fraudulent conduct.

      36.    Defendants deny the allegations contained in paragraph 36 of the

Complaint.

      37.    Defendants deny the allegations contained in paragraph 37 of the

Complaint.

      38.    Defendants admit that defendant Service Experts received payments

for the Trane HVAC unit that plaintiff purchased in or about March 2007.

Defendants deny the remaining allegations contained in paragraph 38 of the

Complaint.

      39.    Defendants deny the allegations contained in paragraph 39 of the

Complaint.

      40.    Defendants deny the allegations contained in paragraph 40 of the

Complaint.

      The remainder of Count Two contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to



                                         8
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 94 of 155



allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                            COUNT III- SUPPRESSION

       41.    Defendant adopt and re-assert their answers to paragraphs 1-40 of the

Complaint.

       42.    Defendants deny the allegations contained in paragraph 42 of the

Complaint.

       43.    Defendants deny the allegations contained in paragraph 43 of the

Complaint.

       44.    Defendants deny the allegations contained in paragraph 44 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Three contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                       COUNT IV – PROMISSORY FRAUD

       45.    Defendants adopt and re-assert their answers to paragraphs 1-44 of the

Complaint.

       46.    Defendants deny the allegations contained in paragraph 46 of the

Complaint.



                                             9
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 95 of 155



       47.    Defendants deny the allegations contained in paragraph 47 of the

Complaint.

       48.    Defendants deny the allegations contained in paragraph 48 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Four contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                                 COUNT V- DECEIT

       49.    Defendants adopt and re-assert their answers to paragraphs 1-48 of the

Complaint.

       50.    Defendants deny the allegations contained in paragraph 50 of the

Complaint.

       51.    Defendants deny the allegations contained in paragraph 51 of the

Complaint.

       52.    Defendants deny the allegations contained in paragraph 52 of the

Complaint.

       53.    Defendants deny the allegations contained in paragraph 53 of the

Complaint.




                                            10
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 96 of 155



       54.    Defendants deny the allegations contained in paragraph 54 of the

Complaint.

       55.    Defendants deny the allegations contained in paragraph 55 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Five contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                         COUNT VI – WILLFUL DECEIT

       56.    Defendants adopt and re-assert their answers to paragraphs 1-55 of the

Complaint.

       57.    Defendants deny the allegations contained in paragraph 57 of the

Complaint.

       58.    Defendants deny the allegations contained in paragraph 58 of the

Complaint.

       59.    Defendants deny the allegations contained in paragraph 59 of the

Complaint.

       60.    Defendants deny the allegations contained in paragraph 60 of the

Complaint.




                                            11
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 97 of 155



      61.    Defendants deny the allegations contained in paragraph 61 of the

Complaint.

      62.    Defendants deny the allegations contained in paragraph 62 of the

Complaint.

      63.    Defendants admit that defendant Service Experts received payments

for the Trane HVAC unit plaintiff purchased in or about March 2007. Defendants

deny the remaining allegations contained in paragraph 63 of the Complaint.

      64.    Defendants deny the allegations contained in paragraph 64 of the

Complaint and further deny that plaintiff is entitled to any damages whatsoever.

      65.    The remainder of Count Six contains a prayer for relief, which

requires neither admission nor denial.          To the extent the prayer for relief is

construed to allege some wrongful or illegal conduct, said construction is denied.

Defendants further deny that plaintiff is entitled to any relief.

      66.    Any Complaint allegations not expressly admitted herein are hereby

denied in their entirety.

                            ADDITIONAL DEFENSES

                                  FIRST DEFENSE

      The Complaint fails to state a claim upon which relief may be granted.




                                           12
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 98 of 155



                               SECOND DEFENSE

      Plaintiff’s claims are barred in whole or in part by the applicable statutes of

limitations.

                                THIRD DEFENSE

      Plaintiff’s claims are barred by the doctrines of estoppel, laches, unclean

hands, waiver, injury by fellow servant, assumption of the risk and/or contributory

negligence.

                               FOURTH DEFENSE

      Plaintiff’s claims are barred to the extent that defendants have been unduly

prejudiced by plaintiff’s failure to diligently pursue her claims against them.

                                 FIFTH DEFENSE

      The Complaint fails to state a claim for punitive damages under Ala. Code

§§ 6-11-20 to 6-11-30 and is barred.

                                SIXTH DEFENSE

      To the extent plaintiff failed to mitigate her damages, she is barred from

recovering from defendants.

                              SEVENTH DEFENSE

      Plaintiff’s punitive damage claims under Alabama law are subject to the

limits and restrictions established by the Alabama Legislature, as set forth in, inter

alia, Ala. Code §§ 6-11-20 to 6-11-30.



                                          13
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 99 of 155



                               EIGHTH DEFENSE

      Defendants aver that any award of punitive damages to plaintiff in this case

would be in violation of the constitutional safeguards provided to defendants under

the Constitution of the State of Alabama and under the Constitution of the United

States of America.

                                NINTH DEFENSE

      Plaintiff’s claims for punitive damages fail because she cannot prove that

defendants acted maliciously or with callous disregard for her rights.

                               TENTH DEFENSE

      Plaintiff’s fraud claim is due to be dismissed because plaintiff did not state

the averments of the alleged fraud or the circumstances constituting the alleged

fraud with particularity.

                             ELEVENTH DEFENSE

      Plaintiff did not reasonably rely on any statements or actions of defendants.

                             TWELFTH DEFENSE

      Defendants deny that they been guilty of any kind of conduct that entitles

plaintiff to recover punitive damages and further deny that plaintiff is entitled to

punitive damages.




                                         14
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 100 of 155



                           THIRTEENTH DEFENSE

      Defendants deny that they have consciously or deliberately engaged in

oppression, fraud, wantonness or malice with regard to plaintiff or have been guilty

of any conduct which entitles plaintiff to recover punitive damages.

                           FOURTEENTH DEFENSE

      Parole evidence may not be used to alter any written agreements or

contracts.

                            FIFTEENTH DEFENSE

      Plaintiff is not entitled to compensatory damages because any emotional

distress or mental anguish she allegedly suffered was caused by occurrences other

than conduct for which defendants are liable as a matter of law.

                            SIXTEENTH DEFENSE

      No action of defendants proximately caused any injury or damage allegedly

suffered by plaintiff.

                          SEVENTEENTH DEFENSE

      Defendants denies that they breached any duty or obligation to plaintiff.

                           EIGHTEENTH DEFENSE

      Defendants deny that they breached any agreement with plaintiff.

                           NINETEENTH DEFENSE

      Defendants deny any and all negligent or wanton acts.



                                         15
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 101 of 155



                           TWENTIETH DEFENSE

      Plaintiff’s state law claims are subject to the requirements of proof and

limitations placed on the award of damages under the Alabama Code.

                          TWENTY-FIRST DEFENSE

      Plaintiff cannot recover for damages for alleged mental anguish or emotional

distress because plaintiff cannot allege or prove that she has sustained a physical

injury as a result of either defendant’s alleged conduct or that she was placed in

immediate risk of physical harm by that conduct.

                        TWENTY-SECOND DEFENSE

      To the extent any unlawful conduct is found to have been committed by any

agent of defendant Service Expert, it should not be held liable because the conduct

was outside the line and scope of the agent’s employment, and the agent did not act

with express or implied authority, and defendant did not ratify or approve any

unlawful conduct.

                         TWENTY-THIRD DEFENSE

      Defendants assert that plaintiff has not suffered any actual damages.

                        TWENTY-FOURTH DEFENSE

      Upon discovery of sufficient facts, defendants reserve the right to raise the

defense of after acquired evidence.




                                        16
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 102 of 155



                        RESERVATION OF RIGHTS

      Defendants hereby reserve the right to file such additional defenses as may

become apparent during the course of discovery.

      Wherefore, having fully answered the Complaint, defendant Service Expert

and defendant Scott Freeman request that the Complaint be dismissed with

prejudice; that judgment be entered for defendants; and that defendants be awarded

attorney’s fees herein, plus other such general and equitable relief as this Court

deems just and appropriate.

                                     Respectfully Submitted,




                                     /s/ J. Tobias Dykes
                                     J. Tobias Dykes (DYK002)
                                     Direct Dial No.: (205) 226-5469
                                     CONSTANGY, BROOKS & SMITH, LLP
                                     Suite 900, One Federal Place
                                     1819 Fifth Avenue North
                                     Birmingham, AL 35203
                                     Facsimile: (205) 323-7674




                                       17
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 103 of 155



                         CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2013, a copy of the foregoing has been
electronically filed with the Clerk of the Court using the Alafile system which will
send notification of such filing to the following:

                   Spencer A. Kinderman
                   Joseph W. Carlisle
                   Gilpin Givhan, PC
                   3595 Grandview Parkway, Suite 400
                   Birmingham, AL 35243

                   Simeon F. Penton
                   Gilpin Givhan, PC
                   2660 Eastchase Lane
                   Montgomery, AL 36117

      I hereby certify that on December 6, 2013, a copy of the foregoing has been
furnished via postage prepaid U.S. Mail to the following:

                   Becky Collins
                   92 Oxmoor Road
                   Birmingham, AL 35209


                                             /s/ J. Tobias Dykes
                                             J. Tobias Dykes




                                        18
                                                                    ELECTRONICALLY FILED
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 10412/6/2013
                                                                   of 155 11:04 AM
                                                                     68-CV-2013-900453.00
                                                                      CIRCUIT COURT OF
                                                                JEFFERSON COUNTY, ALABAMA
                                                                  KAREN DUNN BURKS, CLERK
     IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                      BESSEMER DIVISION

BRANDI FREDERICK,                             )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )
                                                      CIVIL ACTION NO.
                                              )
                                                      68-CV-2013-900453
SERVICE EXPERTS HEATING &                     )
AIR CONDITIONING, LLC F/K/A                   )
STEEL CITY SERVICE EXPERTS,                   )
F/K/A STEEL CITY HEATING &                    )
AIR; SCOTT FREEMAN; BECKY                     )
COLLINS, Defendants.                          )

                            ANSWER TO COMPLAINT

       Defendants Service Experts, LLC formerly known as Steel City Heating &

Air, improperly referred to in the Complaint as Service Experts Heating & Air

Conditioning LLC (“Service Experts”) and Scott Freeman (collectively referred to

as “defendants”) answer plaintiff’s Complaint as follows:

                                     PARTIES

       1.        Defendants admit that plaintiff is over the age of nineteen (19).

Defendants are without sufficient information to admit or deny the remaining

allegations contained in paragraph 1 of the Complaint; therefore, they are denied.

       2.       Defendant Service Experts admits the allegations contained in

paragraph 2 of the Complaint. Defendant Service Experts denies any wrongdoing

in this case.

                                          1
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 105 of 155



      3.    Defendant Freeman admits the allegations contained in paragraph 3 of

the Complaint. Defendant Freeman denies any wrongdoing in this case.

      4.    Defendants admit that a Becky Collins was a salesperson for

defendant Service Experts in March 2007.        Defendants are without sufficient

information to admit or deny the remaining allegations contained in paragraph 4 of

the Complaint; therefore they are denied.      Defendant Service Experts has no

employee named Becky Collins working for it in the Birmingham area at this time.

      5.    Paragraph 5 of the Complaint requires neither an admission nor a

denial. However, defendants deny committing any wrongdoing.

      6.    Paragraph 6 of the Complaint requires neither an admission nor a

denial. However, defendants deny any wrongdoing.

      7.    Defendants admit that plaintiff has sued Service Experts, Scott

Freeman, and a Becky Collins. Defendants further assert that this answer is only

being filed on behalf of Service Experts and Scott Freeman.

      8.    Defendants admit that plaintiff contacted defendant Service Expert in

or about March 2007 about the replacement of her HVAC unit. Defendants are

without sufficient information to admit or deny the remaining allegations contained

in paragraph 8 of the Complaint; therefore, they are denied.

      9.    Defendants admit that plaintiff bought a new Trane HVAC unit in or

about March 2007 from defendant Service Experts. Defendants further admit that



                                         2
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 106 of 155



Service Experts sold extended warranties through Equiguard in or about March

2007.     Defendants are without sufficient information to admit or deny the

remaining allegations contained in paragraph 9 of the Complaint; therefore, they

are denied.

        10.   Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 10 of the Complaint; therefore, they are denied.

Defendants deny that plaintiff purchased a Trane extended warranty in March of

2007.

        11.   Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 11 of the Complaint; therefore, they are denied.

Defendants deny that plaintiff purchased a Trane extended warranty in March of

2007.

        12.   Defendants admit that plaintiff purchased a Trane HVAC unit from

Service Experts in or about March 2007.          Defendants deny the remaining

allegations contained in paragraph 12 of the Complaint.

        13.   Defendants admit that the HVAC unit plaintiff purchased was a

Trane.

        14.   Defendants deny the allegations contained in paragraph 14 of the

Complaint.




                                        3
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 107 of 155



      15.     Defendants deny the allegations contained in paragraph 15 of the

Complaint. Defendants further deny that plaintiff purchased a Trane warranty.

      16.     Defendants admit that plaintiff purchased a new Trane HVAC from

defendant Service Expert. Defendants further admit that the Agreement speaks for

itself. Defendants are without sufficient information to admit or deny the

remaining allegations contained in paragraph 16 of the Complaint; therefore, they

are denied.

      17.     Defendants admit that the Agreement speaks for itself. Defendants

are without sufficient information to admit or deny the remaining allegations

contained in paragraph 17 of the Complaint.

      18.     Defendants admit that the total home comfort investment was

$17,845. Defendants deny the remaining allegations contained in paragraph 18 of

the Complaint.

      19.     Defendants admit that plaintiff requested service on the Trane HVAC

unit in June 2011.

      20.     Defendants admit that plaintiff contacted another HVAC company to

inspect the Trane unit defendant Service Experts sold plaintiff in or about March

2007. Defendants are without sufficient information or belief to admit or deny the

remaining allegations contained in paragraph 20 of the Complaint; therefore, they

are denied.



                                        4
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 108 of 155



      21.    Defendants admits that they paid for the cost to fix the problem with

plaintiff’s HVAC unit in or about June 2011. Defendants are without sufficient

information to admit or deny the remaining allegations contained in paragraph 21

of the Complaint; therefore, they are denied.

      22.    Defendants are without sufficient information to admit or deny the

allegations contained in paragraph 22 of the Complaint. However, defendants

admit that they paid for the cost to fix the problem with plaintiff’s HVAC unit in or

about June 2011.

      23.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.       Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane

HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 23 of the Complaint.

      24.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.       Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane



                                         5
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 109 of 155



HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 24 of the Complaint.

      25.    Defendants admit that defendant Freeman spoke with plaintiff on or

about June 25, 2011 and explained that defendant Service Experts sold warranties

through Equiguard in or about March 2007 and that there was no record reflecting

that plaintiff had a Trane extended warranty.      Defendants further admit that

defendant Freeman purchased a Trane extended warranty for plaintiff on the Trane

HVAC unit that plaintiff purchased in or about March 2007. Defendants deny the

remaining allegations contained in paragraph 25 of the Complaint.

      26.    Defendants admit that Equiguard filed for bankruptcy; however,

defendants further admit that the warranties through Equiguard are still being

honored. Defendants deny the remaining allegations contained in paragraph 26 of

the Complaint.

                    COUNT I – BREACH OF CONTRACT

      27.    Defendants adopt and re-assert their answers to paragraph 1-26 of the

Complaint.

      28.    Defendants admit that defendant Service Experts sold plaintiff a Trane

HVAC in or about March 2007.         Defendants deny the remaining allegations

contained in paragraph 28 of the Complaint.




                                         6
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 110 of 155



       29.    Defendants admit that defendant Service Experts sold plaintiff a Trane

HVAC in or about March 2007.             Defendants deny the remaining allegations

contained in paragraph 29 of the Complaint.

       30.    Defendants deny the allegations contained in paragraph 30 of the

Complaint. Defendants further assert that defendant Freeman paid for a Trane

extended warranty for plaintiff in September of 2011.

       31.    Defendants admit that plaintiff financed the new Trane HVAC unit.

Defendants deny the remaining allegations contained in paragraph 31 of the

Complaint.

       32.    Defendants deny the allegations contained in paragraph 32 of the

Complaint.

       33.    Defendants deny the allegations contained in paragraph 33 of the

Complaint, and defendants specifically deny that plaintiff has suffered any

damages whatsoever.

       The remainder of Count One contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.




                                             7
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 111 of 155



                              COUNT II- FRAUD

      34.    Defendants adopt and re-assert their answers to paragraphs 1-33 of the

Complaint.

      35.    Defendants admit that the Agreement speaks for itself. Defendants

deny the remaining allegations contained in paragraph 35 of the Complaint and

further deny committing any fraudulent conduct.

      36.    Defendants deny the allegations contained in paragraph 36 of the

Complaint.

      37.    Defendants deny the allegations contained in paragraph 37 of the

Complaint.

      38.    Defendants admit that defendant Service Experts received payments

for the Trane HVAC unit that plaintiff purchased in or about March 2007.

Defendants deny the remaining allegations contained in paragraph 38 of the

Complaint.

      39.    Defendants deny the allegations contained in paragraph 39 of the

Complaint.

      40.    Defendants deny the allegations contained in paragraph 40 of the

Complaint.

      The remainder of Count Two contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to



                                         8
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 112 of 155



allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                            COUNT III- SUPPRESSION

       41.    Defendant adopt and re-assert their answers to paragraphs 1-40 of the

Complaint.

       42.    Defendants deny the allegations contained in paragraph 42 of the

Complaint.

       43.    Defendants deny the allegations contained in paragraph 43 of the

Complaint.

       44.    Defendants deny the allegations contained in paragraph 44 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Three contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                       COUNT IV – PROMISSORY FRAUD

       45.    Defendants adopt and re-assert their answers to paragraphs 1-44 of the

Complaint.

       46.    Defendants deny the allegations contained in paragraph 46 of the

Complaint.



                                             9
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 113 of 155



       47.    Defendants deny the allegations contained in paragraph 47 of the

Complaint.

       48.    Defendants deny the allegations contained in paragraph 48 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Four contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                                 COUNT V- DECEIT

       49.    Defendants adopt and re-assert their answers to paragraphs 1-48 of the

Complaint.

       50.    Defendants deny the allegations contained in paragraph 50 of the

Complaint.

       51.    Defendants deny the allegations contained in paragraph 51 of the

Complaint.

       52.    Defendants deny the allegations contained in paragraph 52 of the

Complaint.

       53.    Defendants deny the allegations contained in paragraph 53 of the

Complaint.




                                            10
      Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 114 of 155



       54.    Defendants deny the allegations contained in paragraph 54 of the

Complaint.

       55.    Defendants deny the allegations contained in paragraph 55 of the

Complaint and specifically deny that plaintiff suffered any damages whatsoever.

       The remainder of Count Five contains a prayer for relief, which requires

neither admission nor denial. To the extent the prayer for relief is construed to

allege some wrongful or illegal conduct, said construction is denied. Defendants

further deny that plaintiff is entitled to any relief.

                         COUNT VI – WILLFUL DECEIT

       56.    Defendants adopt and re-assert their answers to paragraphs 1-55 of the

Complaint.

       57.    Defendants deny the allegations contained in paragraph 57 of the

Complaint.

       58.    Defendants deny the allegations contained in paragraph 58 of the

Complaint.

       59.    Defendants deny the allegations contained in paragraph 59 of the

Complaint.

       60.    Defendants deny the allegations contained in paragraph 60 of the

Complaint.




                                            11
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 115 of 155



      61.    Defendants deny the allegations contained in paragraph 61 of the

Complaint.

      62.    Defendants deny the allegations contained in paragraph 62 of the

Complaint.

      63.    Defendants admit that defendant Service Experts received payments

for the Trane HVAC unit plaintiff purchased in or about March 2007. Defendants

deny the remaining allegations contained in paragraph 63 of the Complaint.

      64.    Defendants deny the allegations contained in paragraph 64 of the

Complaint and further deny that plaintiff is entitled to any damages whatsoever.

      65.    The remainder of Count Six contains a prayer for relief, which

requires neither admission nor denial.          To the extent the prayer for relief is

construed to allege some wrongful or illegal conduct, said construction is denied.

Defendants further deny that plaintiff is entitled to any relief.

      66.    Any Complaint allegations not expressly admitted herein are hereby

denied in their entirety.

                            ADDITIONAL DEFENSES

                                  FIRST DEFENSE

      The Complaint fails to state a claim upon which relief may be granted.




                                           12
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 116 of 155



                               SECOND DEFENSE

      Plaintiff’s claims are barred in whole or in part by the applicable statutes of

limitations.

                                THIRD DEFENSE

      Plaintiff’s claims are barred by the doctrines of estoppel, laches, unclean

hands, waiver, injury by fellow servant, assumption of the risk and/or contributory

negligence.

                               FOURTH DEFENSE

      Plaintiff’s claims are barred to the extent that defendants have been unduly

prejudiced by plaintiff’s failure to diligently pursue her claims against them.

                                 FIFTH DEFENSE

      The Complaint fails to state a claim for punitive damages under Ala. Code

§§ 6-11-20 to 6-11-30 and is barred.

                                SIXTH DEFENSE

      To the extent plaintiff failed to mitigate her damages, she is barred from

recovering from defendants.

                              SEVENTH DEFENSE

      Plaintiff’s punitive damage claims under Alabama law are subject to the

limits and restrictions established by the Alabama Legislature, as set forth in, inter

alia, Ala. Code §§ 6-11-20 to 6-11-30.



                                          13
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 117 of 155



                               EIGHTH DEFENSE

      Defendants aver that any award of punitive damages to plaintiff in this case

would be in violation of the constitutional safeguards provided to defendants under

the Constitution of the State of Alabama and under the Constitution of the United

States of America.

                                NINTH DEFENSE

      Plaintiff’s claims for punitive damages fail because she cannot prove that

defendants acted maliciously or with callous disregard for her rights.

                               TENTH DEFENSE

      Plaintiff’s fraud claim is due to be dismissed because plaintiff did not state

the averments of the alleged fraud or the circumstances constituting the alleged

fraud with particularity.

                             ELEVENTH DEFENSE

      Plaintiff did not reasonably rely on any statements or actions of defendants.

                             TWELFTH DEFENSE

      Defendants deny that they been guilty of any kind of conduct that entitles

plaintiff to recover punitive damages and further deny that plaintiff is entitled to

punitive damages.




                                         14
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 118 of 155



                           THIRTEENTH DEFENSE

      Defendants deny that they have consciously or deliberately engaged in

oppression, fraud, wantonness or malice with regard to plaintiff or have been guilty

of any conduct which entitles plaintiff to recover punitive damages.

                           FOURTEENTH DEFENSE

      Parole evidence may not be used to alter any written agreements or

contracts.

                            FIFTEENTH DEFENSE

      Plaintiff is not entitled to compensatory damages because any emotional

distress or mental anguish she allegedly suffered was caused by occurrences other

than conduct for which defendants are liable as a matter of law.

                            SIXTEENTH DEFENSE

      No action of defendants proximately caused any injury or damage allegedly

suffered by plaintiff.

                          SEVENTEENTH DEFENSE

      Defendants denies that they breached any duty or obligation to plaintiff.

                           EIGHTEENTH DEFENSE

      Defendants deny that they breached any agreement with plaintiff.

                           NINETEENTH DEFENSE

      Defendants deny any and all negligent or wanton acts.



                                         15
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 119 of 155



                           TWENTIETH DEFENSE

      Plaintiff’s state law claims are subject to the requirements of proof and

limitations placed on the award of damages under the Alabama Code.

                          TWENTY-FIRST DEFENSE

      Plaintiff cannot recover for damages for alleged mental anguish or emotional

distress because plaintiff cannot allege or prove that she has sustained a physical

injury as a result of either defendant’s alleged conduct or that she was placed in

immediate risk of physical harm by that conduct.

                        TWENTY-SECOND DEFENSE

      To the extent any unlawful conduct is found to have been committed by any

agent of defendant Service Expert, it should not be held liable because the conduct

was outside the line and scope of the agent’s employment, and the agent did not act

with express or implied authority, and defendant did not ratify or approve any

unlawful conduct.

                         TWENTY-THIRD DEFENSE

      Defendants assert that plaintiff has not suffered any actual damages.

                        TWENTY-FOURTH DEFENSE

      Upon discovery of sufficient facts, defendants reserve the right to raise the

defense of after acquired evidence.




                                        16
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 120 of 155



                        RESERVATION OF RIGHTS

      Defendants hereby reserve the right to file such additional defenses as may

become apparent during the course of discovery.

      Wherefore, having fully answered the Complaint, defendant Service Expert

and defendant Scott Freeman request that the Complaint be dismissed with

prejudice; that judgment be entered for defendants; and that defendants be awarded

attorney’s fees herein, plus other such general and equitable relief as this Court

deems just and appropriate.

                                     Respectfully Submitted,




                                     /s/ J. Tobias Dykes
                                     J. Tobias Dykes (DYK002)
                                     Direct Dial No.: (205) 226-5469
                                     CONSTANGY, BROOKS & SMITH, LLP
                                     Suite 900, One Federal Place
                                     1819 Fifth Avenue North
                                     Birmingham, AL 35203
                                     Facsimile: (205) 323-7674




                                       17
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 121 of 155



                         CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2013, a copy of the foregoing has been
electronically filed with the Clerk of the Court using the Alafile system which will
send notification of such filing to the following:

                   Spencer A. Kinderman
                   Joseph W. Carlisle
                   Gilpin Givhan, PC
                   3595 Grandview Parkway, Suite 400
                   Birmingham, AL 35243

                   Simeon F. Penton
                   Gilpin Givhan, PC
                   2660 Eastchase Lane
                   Montgomery, AL 36117

      I hereby certify that on December 6, 2013, a copy of the foregoing has been
furnished via postage prepaid U.S. Mail to the following:

                   Becky Collins
                   92 Oxmoor Road
                   Birmingham, AL 35209


                                             /s/ J. Tobias Dykes
                                             J. Tobias Dykes




                                        18
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 122 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: JONATHAN TOBIAS DYKES
    tdykes@constangy.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 123 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC (PRO SE)
    C/O CSC LAWYERS
    150 SOUTH PERRY STREET
    MONTGOMERY, AL 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 124 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: FREEMAN SCOTT (PRO SE)
    20 EAGLEWOOD FARMS ROAD
    MAYLENE, AL 35114-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 125 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 126 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00


To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                       The following answer was FILED on 12/6/2013 11:04:01 AM




     Notice Date:    12/6/2013 11:04:01 AM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 127 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 128 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following answer was FILED on 12/6/2013 11:04:01 AM




    Notice Date:    12/6/2013 11:04:01 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                 205-497-8510
                                                                      karen.burks@alacourt.gov
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 129 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 130 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 131 of 155
                                                                      ELECTRONICALLY FILED
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 1321/21/2014
                                                                  of 155 10:04 AM
                                                                        68-CV-2013-900453.00
                                                                         CIRCUIT COURT OF
                                                                   JEFFERSON COUNTY, ALABAMA
                                                                     KAREN DUNN BURKS, CLERK

          IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                           BESSEMER DIVISION


FREDERICK BRANDI,                         )
Plaintiff,                                )
                                          )
V.                                        ) Case No.:     CV-2013-900453.00
                                          )
SERVICE EXPERTS HEATING & AIR             )
CONDITIONING, LLC,
FREEMAN SCOTT,                            )
COLLINS BECKY,                            )
Defendants.                               )



                                       ORDER


The Plaintiff’s Motion To Extend Time For Service is hereby granted. Service will be
addressed at the next Scheduling Conference of this case.




DONE this 21st day of January, 2014.

                                        /s/ ANNETTA H. VERIN
                                        CIRCUIT JUDGE
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 133 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                      Judge: ANNETTA H. VERIN
To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                       The following matter was FILED on 1/21/2014 10:04:32 AM




     Notice Date:    1/21/2014 10:04:32 AM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 134 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:04:32 AM




    Notice Date:    1/21/2014 10:04:32 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 135 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:04:32 AM




    Notice Date:    1/21/2014 10:04:32 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 136 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: DYKES JONATHAN TOBIAS
    tdykes@constangy.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:04:32 AM




    Notice Date:    1/21/2014 10:04:32 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 137 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:04:32 AM




    Notice Date:    1/21/2014 10:04:32 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
                                                                      ELECTRONICALLY FILED
     Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 1381/21/2014
                                                                  of 155 10:08 AM
                                                                        68-CV-2013-900453.00
                                                                         CIRCUIT COURT OF
                                                                   JEFFERSON COUNTY, ALABAMA
                                                                     KAREN DUNN BURKS, CLERK

          IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                           BESSEMER DIVISION


FREDERICK BRANDI,                        )
Plaintiff,                               )
                                         )
V.                                       ) Case No.:      CV-2013-900453.00
                                         )
SERVICE EXPERTS HEATING & AIR            )
CONDITIONING, LLC,
FREEMAN SCOTT,                           )
COLLINS BECKY,                           )
Defendants.                              )



                                       ORDER


In accordance with the Honorable Joe Carlisle and the Honorable Toby Dykes in Open
Court this date, this matter is hereby reset for Status Conference 8:30 a.m. March 21,
2014.



DONE this 21st day of January, 2014.

                                        /s/ ANNETTA H. VERIN
                                        CIRCUIT JUDGE
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 139 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00
                                                                      Judge: ANNETTA H. VERIN
To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                       The following matter was FILED on 1/21/2014 10:08:15 AM




     Notice Date:    1/21/2014 10:08:15 AM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 140 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: CARLISLE JOSEPH WENDELL
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:08:15 AM




    Notice Date:    1/21/2014 10:08:15 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 141 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:08:15 AM




    Notice Date:    1/21/2014 10:08:15 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 142 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: DYKES JONATHAN TOBIAS
    tdykes@constangy.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:08:15 AM




    Notice Date:    1/21/2014 10:08:15 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 143 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00
                                                                     Judge: ANNETTA H. VERIN
To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                      The following matter was FILED on 1/21/2014 10:08:15 AM




    Notice Date:    1/21/2014 10:08:15 AM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
                                                         ELECTRONICALLY FILED
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 1442/25/2014
                                                            of 155 4:09 PM
                                                           68-CV-2013-900453.00
                                                            CIRCUIT COURT OF
                                                      JEFFERSON COUNTY, ALABAMA
                                                        KAREN DUNN BURKS, CLERK
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 145 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 146 of 155
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 147 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: JOSEPH WENDALL CARLISLE
    jcarlisle@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 2/25/2014 4:09:32 PM




    Notice Date:    2/25/2014 4:09:32 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 148 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: COLLINS BECKY (PRO SE)
    92 OXMOOR ROAD
    BIRMINGHAM, AL 35209-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 2/25/2014 4:09:32 PM




    Notice Date:    2/25/2014 4:09:32 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
           Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 149 of 155


                                       AlaFile E-Notice




                                                                         68-CV-2013-900453.00


To: KINDERMAN SPENCER ALAN
    skinderman@gilpingivhan.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                   68-CV-2013-900453.00

                      The following discovery was FILED on 2/25/2014 4:09:32 PM




     Notice Date:    2/25/2014 4:09:32 PM




                                                                        KAREN DUNN BURKS
                                                                      CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                                    1851 2ND AVENUE NORTH
                                                                                 SUITE 130
                                                                         BESSEMER, AL 35020

                                                                                   205-497-8510
                                                                        karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 150 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: PENTON SIMEON FRANKLIN II
    spenton@gilpingivhan.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 2/25/2014 4:09:32 PM




    Notice Date:    2/25/2014 4:09:32 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
          Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 151 of 155


                                      AlaFile E-Notice




                                                                        68-CV-2013-900453.00


To: DYKES JONATHAN TOBIAS
    tdykes@constangy.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

        BRANDI FREDERICK V. SERVICE EXPERTS HEATING & AIR CONDITIONING, LLC ET
                                  68-CV-2013-900453.00

                     The following discovery was FILED on 2/25/2014 4:09:32 PM




    Notice Date:    2/25/2014 4:09:32 PM




                                                                       KAREN DUNN BURKS
                                                                     CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                                   1851 2ND AVENUE NORTH
                                                                                SUITE 130
                                                                        BESSEMER, AL 35020

                                                                                  205-497-8510
                                                                       karen.burks@alacourt.gov
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 152 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 153 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 154 of 155
Case 2:14-cv-01647-RDP Document 1-1 Filed 08/25/14 Page 155 of 155
